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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                                       )
  MABELLE MEYAART                      )                Case No. 9-18-cv-80257-RLR
  a/k/a MAI MEYAART,                   )
                                       )
              Plaintiff,               )
                                       )
  vs.                                  )
                                       )
  TRAVEL LEADERS GROUP, LLC, d/b/a and )
  s/k/a TRAVEL LEADERS GROUP, NINAN )
  CHACKO and JOHN LOVELL,              )
                                       )
              Defendants.              )
                                       )

        DEFENDANT, JOHN LOVELL'S ANSWER TO PLAINTIFF'S COMPLAINT

         Defendant, John Lovell, individually (“Mr. Lovell”), through undersigned counsel, hereby

  files his Answer to Plaintiff’s Complaint and states as follows:

                                         General Allegations

         1.      Mr. Lovell admits that Plaintiff filed her Complaint seeking monetary relief in

  excess of fifteen thousand dollars ($15,000) against Defendants based on various claims,

  including, but not limited to, the Equal Pay Act, Florida’s Whistleblower Act, defamation,

  negligent hiring, training, supervision and retention, and tortious interference. Mr. Lovell denies

  that Plaintiff is entitled to any of the relief sought in her Complaint. Mr. Lovell denies any

  allegations not specifically admitted in paragraph 1 of the Complaint.

         2.      Mr. Lovell admits the allegations in paragraph 2 of the Complaint.

         3.      Mr. Lovell admits that Plaintiff worked for Travel Leaders Group. Mr. Lovell

  denies the remaining allegations not specifically admitted in paragraph 3 of the Complaint.
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         4.      Mr. Lovell is without sufficient knowledge to admit or deny the allegations in

  paragraph 4 of the Complaint. To the extent a response is necessary, Mr. Lovell denies the

  allegations in paragraph 4 of the Complaint.

         5.      Mr. Lovell admits that text quoted in paragraph 5 is the same or similar to what is

  listed on the Travel Leaders Group website (https://www.travelleadersgroup.com/). Mr. Lovell

  denies the remaining allegations not specifically admitted in paragraph 5 of the Complaint.

         6.      Mr. Lovell admits that Defendant, Ninan Chacko, is the current CEO and an

  employee of Defendant Travel Leaders Group.

         7.      Mr. Lovell admits that he is a current President and an employee of Travel Leaders

  Group. Mr. Lovell also admits that he is a Florida resident.

         8.      Mr. Lovell admits that he acted within the scope of his employment during his

  employment with Travel Leaders Group. Whether Travel Leaders Group is bound by the actions

  of Mr. Lovell and/or Mr. Chacko calls for a legal conclusion to which no response is necessary.

  Mr. Lovell is without sufficient knowledge to admit or deny the remaining allegations in paragraph

  8 of the Complaint. To the extent a response is necessary, Mr. Lovell denies the remaining

  allegations in paragraph 8 of the Complaint.

         9.      Mr. Lovell denies the allegations in paragraph 9 of the Complaint.

         10.     Mr. Lovell denies the allegations in paragraph 10 of the Complaint.

         11.     Mr. Lovell denies the allegations in paragraph 11 of the Complaint.

         12.     Mr. Lovell is without sufficient knowledge to admit or deny the allegations in

  paragraph 12 of the Complaint. To the extent that a response is necessary, Mr. Lovell denies the

  allegations in paragraph 12 of the Complaint.




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         13.     Mr. Lovell admits that Plaintiff worked for Travel Leaders Group from about

  June 25, 2012 until July 24, 2017. Mr. Lovell denies that Plaintiff was “unceremoniously and

  wrongfully terminated without cause” – after the company decided to eliminate her position (along

  with other employees’ positions in the Engagement Department), Travel Leaders Group offered

  her another position with the same pay and similar title. Plaintiff declined that position. Mr. Lovell

  denies the remaining allegations not specifically admitted in paragraph 13 of the Complaint.

         14.     Mr. Lovell admits that Travel Leaders Group hired Plaintiff to strengthen and

  improve the existing hotel program. Mr. Lovell denies the remaining allegations not specifically

  admitted in paragraph 14 of the Complaint.

         15.     Mr. Lovell admits that Plaintiff held the title of Vice President but is without

  sufficient knowledge to admit or deny the remaining allegations in paragraph 15 of the Complaint.

         16.     Mr. Lovell is without sufficient knowledge to admit or deny the allegations in

  paragraph 16 of the Complaint. To the extent a response is necessary, Mr. Lovell denies the

  allegations in paragraph 16 of the Complaint.

         17.     Mr. Lovell admits that he observed Plaintiff perform some of her duties well.

  However, Mr. Lovell had no direct supervision, interaction, or knowledge regarding all of her

  duties and has never seen an annual review regarding Plaintiff. Mr. Lovell is thus without

  sufficient knowledge to admit or deny the remaining allegations not specifically admitted in

  paragraph 17 of the Complaint. To the extent a response is necessary, Mr. Lovell denies the

  remaining allegations in paragraph 17 of the Complaint.

         18.     Mr. Lovell denies the allegations in paragraph 18 of the Complaint to the extent

  that such allegations ignore the contributions of the entire hotel team.




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         19.     Mr. Lovell denies the allegations in paragraph 19 of the Complaint to the extent

  that such allegations ignore the contributions of the entire hotel team.

         20.     Mr. Lovell admits that Plaintiff achieved some success at Travel Leaders Group but

  denies the allegations in paragraph 20 of the Complaint to the extent that they characterize the

  success as consistently high and to the extent that such allegations ignore the recognition and

  contributions of the entire hotel team.

         21.     Mr. Lovell denies the allegations in paragraph 21 of the Complaint to the extent

  that such allegations ignore the recognition and contributions of the entire hotel team.

         22.     Mr. Lovell admits that Catharina Suryaatmadja, the Financial Controller,

  recognized Plaintiff as contributing to the success of the Hotel Division as alleged in paragraph 22

  of the Complaint. Mr. Lovell denies the remaining allegations not specifically admitted in

  paragraph 22 of the Complaint.

         23.     Mr. Lovell is without sufficient knowledge to admit or deny the allegations in

  paragraph 23 of the Complaint. To the extent a response is necessary, Mr. Lovell denies the

  allegations in paragraph 23 of the Complaint.

         24.     Mr. Lovell admits that Plaintiff received a form note from Mr. Chacko as alleged

  in paragraph 24 of the Complaint. Mr. Lovell denies the remaining allegations not specifically

  admitted in paragraph 24 of the Complaint.

         25.     Mr. Lovell denies the allegations in paragraph 25 of the Complaint.

         26.     Mr. Lovell admits that, instead of terminating Plaintiff, Travel Leaders offered

  Plaintiff the Destination Marketing position, which is a position with a similar title and the same

  salary. Plaintiff declined that position. Mr. Lovell also admits that Travel Leaders considered




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  Plaintiff for other positions. Mr. Lovell denies the remaining allegations not specifically admitted

  in paragraph 26 of the Complaint.

         27.     Mr. Lovell denies the allegations in paragraph 27 of the Complaint.

         28.     Mr. Lovell denies that the “Mistreatment” exists. Mr. Lovell denies the remaining

  allegations in paragraph 28 of the Complaint.

         29.     Mr. Lovell denies the allegations in paragraph 29 of the Complaint.

         30.     Mr. Lovell admits that after Plaintiff declined the Destination Marketing position

  (with the same pay and similar title), there were no other roles for her, so she left the company.

  Mr. Lovell denies the remaining allegations not specifically admitted in paragraph 30 of the

  Complaint.

         31.     Mr. Lovell denies the allegations in paragraph 31 of the Complaint – Travel Leaders

  Group did offer Plaintiff a new position with the same salary and similar title. Plaintiff declined

  that position. Mr. Lovell denies the remaining allegations not specifically admitted in paragraph

  31 of the Complaint.

         32.     Mr. Lovell denies the allegations in paragraph 32 of the Complaint – Travel Leaders

  Group did offer Plaintiff a new position with the same salary and similar title. Plaintiff declined

  that position. Mr. Lovell denies the remaining allegations not specifically admitted in paragraph

  32 of the Complaint.

         33.     Mr. Lovell denies the allegations in paragraph 33 of the Complaint.

         34.     Mr. Lovell denies the allegations in paragraph 34 of the Complaint.

         35.     Mr. Lovell denies the allegations in paragraph 35 of the Complaint – Plaintiff was

  involved in extensive discussions regarding the elimination of her position (as well as other

  employees’ positions within her Department). Plaintiff also had numerous discussions regarding



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  the new position Travel Leaders Group offered her with the same salary and similar title. After

  these negotiations, Plaintiff declined the new position. Mr. Lovell denies the remaining allegations

  not specifically admitted in paragraph 35 of the Complaint.

         36.     Mr. Lovell denies that the Mistreatment exists.        Mr. Lovell also denies the

  allegations regarding the “Travel Leaders Group Warped Culture.”             By way of example,

  Mr. Lovell had eight (8) direct reports – four (4) were male and four (4) were female. Mr. Lovell

  treated them all equally. Mr. Lovell denies the remaining allegations in paragraph 36 of the

  Complaint.

         37.     Mr. Lovell denies the allegations in paragraph 37 of the Complaint.

         38.     Mr. Lovell denies the allegations in paragraph 38 of the Complaint, including

  subparagraphs (A) through (H).

         39.     Mr. Lovell denies the allegations in paragraph 39 of the Complaint.

         40.     Mr. Lovell denies the allegations in paragraph 40 of the Complaint.

         41.     Mr. Lovell denies the allegations in paragraph 41, including subparagraphs (A)

  through (E).

         42.     Mr. Lovell denies the allegations in paragraph 42 of the Complaint.

         43.     Mr. Lovell denies the allegations in paragraph 43 of the Complaint – Plaintiff

  decided to reject an offer of continued employment from Travel Leaders Group even though it had

  the same salary and a similar title.

         44.     Mr. Lovell denies the allegations in paragraph 44 of the Complaint.

         45.     Mr. Lovell denies the allegations in paragraph 45 of the Complaint – there was a

  male employee who was terminated when Travel Leaders Group decided to eliminate positions

  within Plaintiff’s Department.



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         46.     Mr. Lovell denies the allegations in paragraph 46(A) – during his over twenty six

  (26) year career of managing employees, Mr. Lovell has never had one sexual harassment

  complaint made against him, and in this case, he absolutely never solicited Plaintiff for sex, made

  lewd comments, leered at her and/or commented on her appearance. Mr. Lovell admits that he

  met with Plaintiff on February 7, 2017, but denies that it was his request because Plaintiff requested

  the meeting. Mr. Lovell denies that he asked Plaintiff if she “was interested” in another position

  within the company; to the contrary, Plaintiff asked Mr. Lovell to see if there was another position

  available for her. Mr. Lovell did so and Plaintiff was offered the Destination Marketing position.

  Mr. Lovell denies ever telling another acquaintance, in Plaintiff’s presence, that he “was horny,”

  as alleged in paragraph 26(A). Mr. Lovell also denies staring at Plaintiff’s breasts. Mr. Lovell

  denies the remaining allegations in paragraph 46(A) and (C). Mr. Lovell is without sufficient

  knowledge to admit or deny the allegations in subparagraph 46(B) because they do not involve

  him. To the extent a response is necessary, Mr. Lovell denies the allegations in paragraph 46(B).

         47.     Mr. Lovell denies the allegations in paragraph 47 of the Complaint, including

  subparagraphs 47(A) through (L).

         48.     The allegations in paragraph 48 of the Complaint call for a legal conclusion to

  which no response is necessary. To the extent that a response is necessary, Mr. Lovell denies the

  allegations in paragraph 48 of the Complaint.

         49.     Mr. Lovell denies the allegations in paragraph 49 of the Complaint.

         50.     Mr. Lovell denies the allegations in paragraph 50 of the Complaint.

         51.     Mr. Lovell denies the allegations in paragraph 51 of the Complaint.




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          52.     Mr. Lovell is without sufficient knowledge to admit or deny the allegations in

  paragraph 52 of the Complaint. To the extent that a response is necessary, Mr. Lovell denies the

  allegations in paragraph 52 of the Complaint.

                                       COUNT I
                            EQUAL PAY ACT, 29 USC SECTION 206

          53.     Mr. Lovell restates and reallages his answers to paragraphs 1-52 as if they were

  fully set forth herein.

          54.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 54 of the Complaint.

          55.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 55 of the Complaint.

          56.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 56 of the Complaint.

          57.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 57 of the Complaint.

          58.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 58 of the Complaint.




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         59.    The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 59 of the Complaint.

         60.    The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 60 of the Complaint.

         61.    The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 61 of the Complaint.

         62.    The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 62 of the Complaint.

         63.    The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 63 of the Complaint.

         64.    The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 64 of the Complaint.

         65.    The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 65 of the Complaint.




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          66.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 66 of the Complaint.

          67.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 67 of the Complaint.

          68.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 68 of the Complaint.

          69.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 69 of the Complaint.

          70.     The allegations in Count I are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 70 of the Complaint.

                                         COUNT II
                            VIOLATION OF FLA. STAT. § 448.101 et. seq.
                               FLORIDA WHISTLEBLOWER ACT

          71.     Mr. Lovell restates and reallages his answers to paragraphs 1-52 as if they were

  fully set forth herein.

          72.     The allegations in Count II are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 72 of the Complaint.




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          73.     The allegations in Count II are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 73 of the Complaint.

          74.     The allegations in Count II are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 74 of the Complaint.

          75.     The allegations in Count II are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 75 of the Complaint.

          76.     The allegations in Count II are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 76 of the Complaint.

          77.     The allegations in Count II are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 77 of the Complaint.

                                            COUNT III
                                           NEGLIGENCE

          78.     Mr. Lovell restates and reallages his answers to paragraphs 1-52 as if they were

  fully set forth herein.

          79.     The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 79 of the Complaint.




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         80.    The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 80 of the Complaint.

         81.    The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 81 of the Complaint.

         82.    The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 82 of the Complaint.

         83.    The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 83 of the Complaint.

         84.    The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 84 of the Complaint.

         85.    The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 85 of the Complaint.

         86.    The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 86 of the Complaint.




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          87.     The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 87 of the Complaint.

          88.     The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 88 of the Complaint.

          89.     The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 89 of the Complaint.

          90.     The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 90 of the Complaint.

          91.     The allegations in Count III are against Travel Leaders Group, not Mr. Lovell, so a

  response from Mr. Lovell is not necessary. To the extent a response is necessary, Mr. Lovell

  denies the allegations in paragraph 91 of the Complaint.

                                        COUNT IV
                                  TORTIOUS INTERFERENCE

          92.     Mr. Lovell restates and reallages his answers to paragraphs 1-52 as if they were

  fully set forth herein.

          93.     Mr. Lovell admits that he and Mr. Chacko held the positions of President and CEO,

  which have a supervisory role over Plaintiff, but denies that they were Plaintiff’s direct

  supervisors. Mr. Lovell denies the remaining allegations in paragraph 93 of the Complaint.

          94.     Mr. Lovell denies the allegations in paragraph 94 of the Complaint.

          95.     Mr. Lovell denies the allegations in paragraph 95 of the Complaint.

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          96.     Mr. Lovell denies the allegations in paragraph 96 of the Complaint.

                                          COUNT V
                                      DEFAMATION PER SE

          97.     Mr. Lovell restates and reallages his answers to paragraphs 1-52 as if they were

  fully set forth herein.

          98.     Mr. Lovell denies the allegations in paragraph 98 of the Complaint.

          99.     Mr. Lovell denies the allegations in paragraph 99 of the Complaint.

          100.    Mr. Lovell denies the allegations in paragraph 100 of the Complaint.

          101.    Mr. Lovell denies the allegations in paragraph 101 of the Complaint.

          102.    Mr. Lovell denies the allegations in paragraph 102 of the Complaint.

          103.    Mr. Lovell denies the allegations in paragraphs 103 of the Complaint.

                                       COUNT VI
                               DEFAMATION BY IMPLICATION

          104.    Mr. Lovell restates and reallages his answers to paragraphs 1-52 as if they were

  fully set forth herein.

          105.    Mr. Lovell denies allegations in paragraph 105 of the Complaint.

          106.    Mr. Lovell denies allegations in paragraph 106 of the Complaint.

          107.    Mr. Lovell denies the allegations in paragraph 107 of the Complaint.

          108.    Mr. Lovell denies the allegations in paragraph 108 of the Complaint.

          109.    Mr. Lovell denies the allegations in paragraph 110 of the Complaint.

          110.    Mr. Lovell denies the allegations in paragraphs 111 of the Complaint.

          111.    Mr. Lovell denies the allegations in paragraph 112 of the Complaint.

          112.    Mr. Lovell denies the allegations in paragraphs 113 of the Complaint.

          113.    Mr. Lovell denies the allegations in paragraph 114 of the Complaint.



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         114.    Mr. Lovell denies the allegations in paragraphs 111 of the Complaint.

                                   AFFIRMATIVE DEFENSES

         Mr. Lovell asserts the following defenses and affirmative defenses, and reserves the right

  to assert other affirmative defenses, defenses or claims, when and if they become appropriate

  and/or available in this action. The statement of any defense herein does not assume the burden

  of proof for any issue, fact, or element of a claim to which the applicable law places the burden of

  proof on a party other than Mr. Lovell.

  First Affirmative Defense:

  Count IV for Tortious Interference is barred because Mr. Lovell assisted Plaintiff in obtaining a

  new job offer from Travel Leaders Group (with the same salary and similar title), which she

  rejected. Plaintiff could still be employed if she accepted that job offer. Mr. Lovell is not the

  proximate cause of Plaintiff not currently working for Travel Leaders Group.

  Second Affirmative Defense:

  Count IV for Tortious Interference is barred because Plaintiff was an “at will” employee who could

  be terminated at any time. As “a general rule, an action for tortious interference with a business

  relationship requires a business relationship evidenced by an actual and identifiable understanding

  or agreement which in all probability would have been completed if the defendant had not

  interfered.” Gossard v. Adia Services, Inc., 723 So. 2d 182, 184 (Fla. 1998) (quoting Ethan Allen,

  Inc. v. Georgetown Manor, Inc., 647 So.2d 812 (Fla. 1994)).

  Third Affirmative Defense:

  Count IV for Tortious Interference is barred because Mr. Lovell, as the President of Travel Leaders

  Group, is not a stranger to the employment relationship and he had a beneficial or economic

  interest in, or control over, that relationship. See Wilson v. EverBank, N.A., 77 F. Supp.3d 1202

  (S.D. Fla. 2015) (explaining that a person’s interference with another's business relationship is
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  justified where the “defendant is not a stranger to a business relationship [or] if the defendant has

  any beneficial or economic interest in, or control over, that relationship”); see also Johnson Enters.

  Of Jacksonville, Inc. v. FPL Group, Inc. 162 F.2d 1290, 1321 (11th Cir. 1998) (“Florida law

  recognizes the principal that actions taken to safeguard or protect one’s financial interest, so long

  as improper means are not employed…”)).

  Fourth Affirmative Defense:

  Counts V and VI for defamation are barred because any statements Mr. Lovell made about Plaintiff

  were true.

  Fifth Affirmative Defense:

  As to Counts V and VI for defamation, is impossible for Mr. Lovell to properly defend himself

  against Plaintiff’s defamation claims because she has not alleged sufficient facts about the alleged

  statements, to whom they were made, or when they were made. However, if Mr. Lovell made any

  statements regarding Plaintiff’s performance to Travel Leaders Group or prospective employers,

  the qualified privilege bars any cause of action for defamation because a “communication made in

  good faith on any subject matter by one having an interest therein, or in reference to which he has

  a duty, is privileged if made to a person having a corresponding interest or duty, even though it

  contains matter which would otherwise be actionable, and though the duty is not a legal one but

  only a moral or social obligation.” See Nodar v. Galbreath, 462 So. 2d 803, 809 (Fla. 1984) (citing

  Abraham v. Baldwin, 52 Fla. 151, 42 So. 591 (1906)).

  Seventh Affirmative Defense:

  As to Counts V and VI for defamation, is impossible for Mr. Lovell to properly defend himself

  against Plaintiff’s defamation claims because she has not alleged sufficient facts about the alleged

  statements, to whom they were made, or when they were made. However, to the extent Mr. Lovell



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  discussed Plaintiff’s performance with prospective employers, those discussions were truthful and

  Mr. Lovell is immune from liability under Section 768.095.Fla. Stat., which states:

                 An employer who discloses information about a former or current
                 employee to a prospective employer of the former or current
                 employee upon request of the prospective employer or of the former
                 or current employee is immune from civil liability for such
                 disclosure or its consequences unless it is shown by clear and
                 convincing evidence that the information disclosed by the former or
                 current employer was knowingly false or violated any civil right of
                 the former or current employee protected under chapter 760.”

  Fla. Stat. 768.095; see also Bush v. Raytheon Co., 373 Fed. Appx. 936, 941 (11th Cir. 2010)

  (explaining that “an employer has a qualified privilege when the employer discloses information

  about a current or former employee to a prospective employer.”).

  Eighth Affirmative Defense:

  As to Counts V and VI for defamation, is impossible for Mr. Lovell to properly defend himself

  against Plaintiff’s defamation claims because she has not alleged sufficient facts about the alleged

  statements, to whom they were made, or when they were made. However, to the extent Mr. Lovell

  discussed Plaintiff’s performance with third parties, his statements were pure opinion and cannot

  support a claim for defamation. See Five for Entertainment S.A. v. Rodriguez, 2013 WL 4433420

  at *9 (S.D. Fla. August 15, 2013) (quoting Stembridge v. Mintz, 652 So. 2d 444, 446 (Fla. 3d DCA

  1995)).

  Ninth Affirmative Defense:

  As to Counts V and VI for defamation, is impossible for Mr. Lovell to properly defend himself

  against Plaintiff’s defamation claims because she has not alleged sufficient facts about the alleged

  statements, to whom they were made, or when they were made. However, Plaintiff did contact

  Mr. Lovell numerous times, asking him to forward her resume to his personal and business

  contacts. To the extent Plaintiff claims that Mr. Lovell’s contact with prospective employers on

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  Plaintiff’s behalf constitutes defamation, those claims are barred by the doctrine of “invited

  defamation.” See Litman v. Massachusetts Mut. Life Ins. Co., 739 F.2d 1549, 1560 (11th Cir.

  1984); Lopez v. Ingram Micro, Inc., 10 Fla. L. Weekly D635 (S.D. Fla. Mar. 18, 1997).

  Tenth Affirmative Defense:

  As to Counts V and VI for defamation, Plaintiff has not identified any time period for the alleged

  defamatory statements. The statute of limitations will bar any alleged defamatory statements made

  more than two years prior to the filing of this action. See Fla. Stat. §95.11.

         WHEREFORE, Defendant John Lovell respectfully requests that this action be dismissed

  with prejudice in its entirety, that judgment be entered in favor of John Lovell, and that John Lovell

  be awarded its costs, including reasonable attorney’s fees incurred in defending this lawsuit.

  DATED:         March 14, 2018                  /s/ Kelly B. Holbrook
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 14, 2018, a true and correct copy of the foregoing

  was filed using the Court’s CM/ECF System, which will send a notice of electronic filing to the

  following CM/ECF participants:

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